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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 AMERICAN LIBRARY ASSOCIATION,
 et al.,

                      Plaintiffs,

        v.                                           No. 25-cv-01050-RJL

 KEITH SONDERLING, in his capacity as
 Acting Director of the Institute of Museum
 and Library Services, et al.,

                      Defendants.


                                    [PROPOSED] ORDER

       For the reasons set forth in Defendants’ Motion for Reconsideration of the May 1, 2025,

Memorandum Order and Notice of Supplemental Authority, it is hereby

       ORDERED that Defendants’ Motion for Reconsideration is GRANTED; and it is

       FURTHER ORDERED that the extant temporary restraining order in this matter is

                   DISSOLVED; and it is

       FURTHER ORDERED that the Plaintiffs’ pending Motion for a Preliminary Injunction

                   is DENIED.

SO ORDERED.




  Dated:
                                                   The Honorable Richard J. Leon
                                                   United States District Judge
